Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF LOUISIANA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Man Cave Archery LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6420 Hwy 8
                                  Bentley, LA 71407
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Grant                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Man Cave Archery LLC                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4445

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Man Cave Archery LLC                                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Man Cave Archery LLC                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 29, 2019
                                                  MM / DD / YYYY


                             X   /s/ Amanda N. Briggs                                                     Amanda N. Briggs
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member/Manager




18. Signature of attorney    X   /s/ Chelsea M. Tanner                                                     Date March 29, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Chelsea M. Tanner
                                 Printed name

                                 Gold, Weems, Bruser, Sues & Rundell
                                 Firm name

                                 POB 6118
                                 Alexandria, LA 71307-6118
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (318)445-6471                 Email address


                                 37890 LA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Man Cave Archery LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 29, 2019                          X /s/ Amanda N. Briggs
                                                                       Signature of individual signing on behalf of debtor

                                                                       Amanda N. Briggs
                                                                       Printed name

                                                                       Member/Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Man Cave Archery LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           282,842.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           282,842.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            39,799.10

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           608,970.47


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             648,769.57




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Man Cave Archery LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                             Check if this is an
                                                                                                                             amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                           Current value of
                                                                                                                             debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of      Valuation method used    Current value of
                                                      physical inventory      debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 19.       Raw materials


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 1
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 Debtor         Man Cave Archery LLC                                                             Case number (If known)
                Name

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Archery inventory - *
           See Attached                                                                        $0.00                                     $150,000.00


           Gun inventory - * See
           Attached                                                                            $0.00                                      $50,000.00


           Ammunition and other
           firearm inventory - *See
           Attached                                                                            $0.00                                      $82,242.00




 23.       Total of Part 5.                                                                                                          $282,242.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
                                                                                 debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           chairs, stools/tables                                                               $0.00                                          $100.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           laptops (2) and registers (2)                                                       $0.00                                          $500.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         Man Cave Archery LLC                                                          Case number (If known)
                Name

 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                               $600.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used   Current value of
            Include year, make, model, and identification numbers             debtor's interest       for current value       debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            2 S-Cans - movable storage containers                                           $0.00                                               $0.00



 51.        Total of Part 8.                                                                                                               $0.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         Man Cave Archery LLC                                                          Case number (If known)
                Name


        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            mancavearchery.com                                                              $0.00                                              $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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 Debtor          Man Cave Archery LLC                                                                                Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $282,242.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                               $600.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $282,842.00           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $282,842.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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 Fill in this information to identify the case:

 Debtor name         Man Cave Archery LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Man Cave Archery LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $266.62         $266.62
           Ascension Parish Sale & Use Tax                           Check all that apply.
           1124 S. Burnside, Ste. 300A                                  Contingent
           Gonzales, LA 70707                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Jan. 5-6, 2019 Gun Show/Sales taxes due
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $390.10         $390.10
           Ascension Parish Sale & Use Tax                           Check all that apply.
           1124 S. Burnside, Ste. 300A                                  Contingent
           Gonzales, LA 70707                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     July 28-29, 2018 Gun Show/Sales taxes due
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 Debtor       Man Cave Archery LLC                                                                            Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $15,851.39    $15,851.39
          Grant Parish Sales & Use Tax                               Check all that apply.
          P.O. Box 187                                                  Contingent
          Colfax, LA 71417                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     April - September 2018 sales taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown       $0.00
          Grant Parish Sales & Use Tax                               Check all that apply.
          P.O. Box 187                                                  Contingent
          Colfax, LA 71417                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     October - December 2018
                                                                     January - March 2019
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $3,781.83    $3,781.83
          Internal Revenue Service                                   Check all that apply.
          POB 7346                                                      Contingent
          Philadelphia, PA 19101-7346                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     941 taxes due for Jan 2019 and Feb 2019
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $622.09     $622.09
          Jefferson Parish Sales & Use Tax                           Check all that apply.
          200 Derbigny Street, St. 1200                                 Contingent
          Gretna, LA 70053                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Special Event Gun Shows/Oct 2018 and Jan
                                                                     2019
                                                                     Sales taxes due
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 Debtor       Man Cave Archery LLC                                                                            Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $265.50     $265.50
          Lafayette Parish School System                             Check all that apply.
          Sales Tax Division                                            Contingent
          411 East Vermillion Street                                    Unliquidated
          Lafayette, LA 70501                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Jan. 19-20, 2019 Carencro Gun and Knife
                                                                     Show/Sales taxes due
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $18,157.00    $18,157.00
          LDR Sales & Use Tax Dept                                   Check all that apply.
          P.O. Box 4969                                                 Contingent
          Baton Rouge, LA 70821-4969                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     April - September 2018 sales taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown       $0.00
          LDR Sales & Use Tax Dept                                   Check all that apply.
          P.O. Box 4969                                                 Contingent
          Baton Rouge, LA 70821-4969                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     October - December 2018
                                                                     January - March 2019
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $200.91     $200.91
          LDR Sales & Use Tax Dept                                   Check all that apply.
          P.O. Box 201                                                  Contingent
          Baton Rouge, LA 70821-0201                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Jan 12-13, 2019 Lake Charles Gun Show/Sales
                                                                     taxes due
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 Debtor        Man Cave Archery LLC                                                                           Case number (if known)
               Name

 2.11       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $263.66    $263.66
            LDR Sales & Use Tax Dept                                 Check all that apply.
            P.O. Box 201                                                Contingent
            Baton Rouge, LA 70821-0201                                  Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Jan 5-6, 2019 Gun and Knife Show/Sales taxes
                                                                     due
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $9,041.31
           American Express                                                            Contingent
           4 E Station Square Dr                                                       Unliquidated
           Pittsburgh, PA 15219                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number      4824
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $700.00
           BK Distributors                                                             Contingent
           112 Pelican Dr., Ste. B                                                     Unliquidated
           Pineville, LA 71360                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $90,000.00
           BlueVine                                                                    Contingent
           550 Hamilton Ave.                                                           Unliquidated
           Palo Alto, CA 94301                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $257.15
           BowTech Archery                                                             Contingent
           90554 OR-99                                                                 Unliquidated
           Eugene, OR 97402                                                            Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number      4045
                                                                                   Is the claim subject to offset?     No       Yes

 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           Buck Wild Synthetics                                                        Contingent
           2964 Zid Camp Rd.                                                           Unliquidated
           Ashton, WV 25503                                                            Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




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 Debtor       Man Cave Archery LLC                                                                    Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,700.00
          Cenla Broadcasting                                                    Contingent
          1115 Texas Ave.                                                       Unliquidated
          Alexandria, LA 71301                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1885
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47.98
          Covert Scouting Cameras                                               Contingent
          4338 Greenridge-Spa Rd.                                               Unliquidated
          Lewisburg, KY 42256                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7775
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $177.12
          D's Freeze, LLC                                                       Contingent
          P.O. Box 607                                                          Unliquidated
          Pollock, LA 71467                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $42,994.79
          Davidson's, Inc.                                                      Contingent
          6100 Wilkinson Dr.                                                    Unliquidated
          Prescott, AZ 86301                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0552
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Delta McKenzie Targets                                                Contingent
          5040 Harold Gatty Dr                                                  Unliquidated
          Salt Lake City, UT 84116                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,750.26
          Easton Archery                                                        Contingent
          5040 Harold Gatty Drive                                               Unliquidated
          Salt Lake City, UT 84116                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8702
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $150.00
          Egumball                                                              Contingent
          7525 Irvine Center Dr., #100                                          Unliquidated
          Irvine, CA 92618                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Man Cave Archery LLC                                                                    Case number (if known)
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 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,737.54
          Escalade Sports/Bear Archery                                          Contingent
          P.O. Box 889                                                          Unliquidated
          Evansville, IN 47706                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5112
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Excalibur Crossbow Inc.                                               Contingent
          2335 Shirley Drive                                                    Unliquidated
          Kitchener, ON N2B 3X4                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $810.46
          FedEX                                                                 Contingent
          3965 Airways, Module G                                                Unliquidated
          Memphis, TN 38116                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2303
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,718.62
          FeraDyne Outdoors                                                     Contingent
          1230 Poplar Ave.                                                      Unliquidated
          Superior, WI 54880                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       S852
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,623.75
          G5 Outdoors                                                           Contingent
          P.O. Box 59                                                           Unliquidated
          Memphis, MI 48041                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       N001
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,493.00
          Genesis Archery                                                       Contingent
          Brennan Industries Inc.                                               Unliquidated
          2035 Riley Rd.                                                        Disputed
          Sparta, WI 54656
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1887                         Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,220.00
          GoldTip                                                               Contingent
          584 E 1100 South, Ste. 5                                              Unliquidated
          American Fork, UT 84003                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1302
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Man Cave Archery LLC                                                                    Case number (if known)
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 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,707.33
          Hoyt Archery                                                          Contingent
          593 North Wright Brothers Dr.                                         Unliquidated
          Salt Lake City, UT 84116                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Hoyt - 28657.23
          Last 4 digits of account number       0199                         Fuse - 2050.10
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $125.44
          HughesNet                                                             Contingent
          P.O. Box 96874                                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          John Lummus                                                           Contingent
          151 Bush Coleman Rd                                                   Unliquidated
          Boyce, LA 71409                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          Josh Daniels                                                          Contingent
          110 Claude's Rd.                                                      Unliquidated
          Colfax, LA 71417                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $89,000.00
          Kalamata Capital Group                                                Contingent
          7315 Wisconsin Ave., #950                                             Unliquidated
          Bethesda, MD 20814                                                    Disputed
          Date(s) debt was incurred 1/29/19
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $866.72
          Kenseys South                                                         Contingent
          250 Terry Blvd.                                                       Unliquidated
          Louisville, KY 40229                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6883
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,745.49
          Kimber Mfg. Inc.                                                      Contingent
          4420 Saw Mill River Rd.                                               Unliquidated
          Yonkers, NY 10710                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1586
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Man Cave Archery LLC                                                                    Case number (if known)
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 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ladniappe Broadcasting                                                Contingent
          92 West Shamrock Ave.                                                 Unliquidated
          Pineville, LA 71360                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,826.63
          Lipseys LLC                                                           Contingent
          P.O. Box 83280                                                        Unliquidated
          Baton Rouge, LA 70884                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6899
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $49,321.00
          Mathews Archery, Inc.                                                 Contingent
          P.O. Box 367                                                          Unliquidated
          Sparta, WI 54656                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1887
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $706.34
          Morrell Manufacturing, Inc.                                           Contingent
          1721 Hwy 71 North                                                     Unliquidated
          Alma, AR 72921                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7175
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,000.00
          National Funding Inc.                                                 Contingent
          9820 Towne Centre Drive                                               Unliquidated
          San Diego, CA 92121                                                   Disputed
          Date(s) debt was incurred 9/13/17
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,499.99
          Nexstar Digital, LLC                                                  Contingent
          P.O. Box 842748                                                       Unliquidated
          Dallas, TX 75284-2748                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,340.40
          PSE - Precision Shooting Equip                                        Contingent
          2727 N. Fairview Ave.                                                 Unliquidated
          Tucson, AZ 85705                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1400
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Man Cave Archery LLC                                                                    Case number (if known)
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 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $60,402.05
          Quarterspot, Inc.                                                     Contingent
          333 Seventh Ave., Ste. 1402                                           Unliquidated
          New York, NY 10001                                                    Disputed
          Date(s) debt was incurred 11/7/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ruby Receptionists                                                    Contingent
          805 SW Broadway #900                                                  Unliquidated
          Portland, OR 97205                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,270.76
          Sam's Club/Synchrony Bank                                             Contingent
          P.O. Box 105972                                                       Unliquidated
          Atlanta, GA 30348                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3336
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $225.00
          Terminator Pest & Pond Mtg. LLC                                       Contingent
          P.O. Box 4740                                                         Unliquidated
          Pineville, LA 71360                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,452.13
          The Outdoor Group, LLC                                                Contingent
          1325 John Street                                                      Unliquidated
          West Henrietta, NY 14586                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0853
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,037.79
          US Bank                                                               Contingent
          P.O. Box 6352                                                         Unliquidated
          Fargo, ND 58125                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7522
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,132.95
          Vapor Trail                                                           Contingent
          1333 1054th Ave NE, Ste. 300                                          Unliquidated
          Andover, MN 55304                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Man Cave Archery LLC                                                                    Case number (if known)
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 3.41      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,859.96
           WiseArms                                                             Contingent
           355 Robinson Bridge Rd.                                              Unliquidated
           Lecompte, LA 71346                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.42      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $5,528.51
           WNTZ                                                                 Contingent
           P.O. Box 840148                                                      Unliquidated
           Dallas, TX 75284-0148                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Ariel Bouskila, Esq.
           Berkovitch & Bouskila, PLLC                                                                Line     3.24
           40 Exchange Place, Ste. 1306
                                                                                                             Not listed. Explain
           New York, NY 10005

 4.2       Interregional Credit Systems
           P.O. Box 1059                                                                              Line     3.16
           Anoka, MN 55303
                                                                                                             Not listed. Explain

 4.3       Interregional Credit Systems
           P.O. Box 1059                                                                              Line     3.29
           Anoka, MN 55303
                                                                                                             Not listed. Explain

 4.4       Interregional Credit Systems
           P.O. Box 1059                                                                              Line     3.40
           Anoka, MN 55303
                                                                                                             Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                      39,799.10
 5b. Total claims from Part 2                                                                            5b.    +     $                     608,970.47

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                        648,769.57




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 10 of 10
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               19-80310 - #1 File 03/29/19 Enter 03/29/19 10:06:58 Main Document Pg 22 of 47
 Fill in this information to identify the case:

 Debtor name         Man Cave Archery LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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               19-80310 - #1 File 03/29/19 Enter 03/29/19 10:06:58 Main Document Pg 23 of 47
 Fill in this information to identify the case:

 Debtor name         Man Cave Archery LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Amanda Briggs                     6420 Hwy 8                                        Sam's                              D
                                               Bentley, LA 71407                                 Club/Synchrony                     E/F       3.36
                                                                                                 Bank
                                                                                                                                    G




    2.2      Steven Briggs                     6420 Hwy 8                                        American Express                   D
                                               Bentley, LA 71407                                                                    E/F       3.1
                                                                                                                                    G




    2.3      Steven Briggs                     6420 Hwy 8                                        BK Distributors                    D
                                               Bentley, LA 71407                                                                    E/F       3.2
                                                                                                                                    G




    2.4      Steven Briggs                     6420 Hwy 8                                        BlueVine                           D
                                               Bentley, LA 71407                                                                    E/F       3.3
                                                                                                                                    G




    2.5      Steven Briggs                     6420 Hwy 8                                        BowTech Archery                    D
                                               Bentley, LA 71407                                                                    E/F       3.4
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 7
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 Debtor       Man Cave Archery LLC                                                  Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Steven Briggs                     6420 Hwy 8                                Buck Wild Synthetics               D
                                               Bentley, LA 71407                                                            E/F       3.5
                                                                                                                            G




    2.7      Steven Briggs                     6420 Hwy 8                                Cenla Broadcasting                 D
                                               Bentley, LA 71407                                                            E/F       3.6
                                                                                                                            G




    2.8      Steven Briggs                     6420 Hwy 8                                Covert Scouting                    D
                                               Bentley, LA 71407                         Cameras                            E/F       3.7
                                                                                                                            G




    2.9      Steven Briggs                     6420 Hwy 8                                D's Freeze, LLC                    D
                                               Bentley, LA 71407                                                            E/F       3.8
                                                                                                                            G




    2.10     Steven Briggs                     6420 Hwy 8                                Davidson's, Inc.                   D
                                               Bentley, LA 71407                                                            E/F       3.9
                                                                                                                            G




    2.11     Steven Briggs                     6420 Hwy 8                                Delta McKenzie                     D
                                               Bentley, LA 71407                         Targets                            E/F       3.10
                                                                                                                            G




    2.12     Steven Briggs                     6420 Hwy 8                                Easton Archery                     D
                                               Bentley, LA 71407                                                            E/F       3.11
                                                                                                                            G




    2.13     Steven Briggs                     6420 Hwy 8                                Egumball                           D
                                               Bentley, LA 71407                                                            E/F       3.12
                                                                                                                            G




Official Form 206H                                                   Schedule H: Your Codebtors                                       Page 2 of 7
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 Debtor       Man Cave Archery LLC                                                  Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     Steven Briggs                     6420 Hwy 8                                Escalade Sports/Bear               D
                                               Bentley, LA 71407                         Archery                            E/F       3.13
                                                                                                                            G




    2.15     Steven Briggs                     6420 Hwy 8                                Excalibur Crossbow                 D
                                               Bentley, LA 71407                         Inc.                               E/F       3.14
                                                                                                                            G




    2.16     Steven Briggs                     6420 Hwy 8                                FedEX                              D
                                               Bentley, LA 71407                                                            E/F       3.15
                                                                                                                            G




    2.17     Steven Briggs                     6420 Hwy 8                                FeraDyne Outdoors                  D
                                               Bentley, LA 71407                                                            E/F       3.16
                                                                                                                            G




    2.18     Steven Briggs                     6420 Hwy 8                                G5 Outdoors                        D
                                               Bentley, LA 71407                                                            E/F       3.17
                                                                                                                            G




    2.19     Steven Briggs                     6420 Hwy 8                                Genesis Archery                    D
                                               Bentley, LA 71407                                                            E/F       3.18
                                                                                                                            G




    2.20     Steven Briggs                     6420 Hwy 8                                GoldTip                            D
                                               Bentley, LA 71407                                                            E/F       3.19
                                                                                                                            G




    2.21     Steven Briggs                     6420 Hwy 8                                Grant Parish Sales &               D
                                               Bentley, LA 71407                         Use Tax                            E/F       2.3
                                                                                                                            G




Official Form 206H                                                   Schedule H: Your Codebtors                                       Page 3 of 7
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 Debtor       Man Cave Archery LLC                                                  Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.22     Steven Briggs                     6420 Hwy 8                                Grant Parish Sales &               D
                                               Bentley, LA 71407                         Use Tax                            E/F       2.4
                                                                                                                            G




    2.23     Steven Briggs                     6420 Hwy 8                                Hoyt Archery                       D
                                               Bentley, LA 71407                                                            E/F       3.20
                                                                                                                            G




    2.24     Steven Briggs                     6420 Hwy 8                                HughesNet                          D
                                               Bentley, LA 71407                                                            E/F       3.21
                                                                                                                            G




    2.25     Steven Briggs                     6420 Hwy 8                                Internal Revenue                   D
                                               Bentley, LA 71407                         Service                            E/F       2.5
                                                                                                                            G




    2.26     Steven Briggs                     6420 Hwy 8                                John Lummus                        D
                                               Bentley, LA 71407                                                            E/F       3.22
                                                                                                                            G




    2.27     Steven Briggs                     6420 Hwy 8                                Josh Daniels                       D
                                               Bentley, LA 71407                                                            E/F       3.23
                                                                                                                            G




    2.28     Steven Briggs                     6420 Hwy 8                                Kalamata Capital                   D
                                               Bentley, LA 71407                         Group                              E/F       3.24
                                                                                                                            G




    2.29     Steven Briggs                     6420 Hwy 8                                Kenseys South                      D
                                               Bentley, LA 71407                                                            E/F       3.25
                                                                                                                            G




Official Form 206H                                                   Schedule H: Your Codebtors                                       Page 4 of 7
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 Debtor       Man Cave Archery LLC                                                  Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.30     Steven Briggs                     6420 Hwy 8                                Kimber Mfg. Inc.                   D
                                               Bentley, LA 71407                                                            E/F       3.26
                                                                                                                            G




    2.31     Steven Briggs                     6420 Hwy 8                                Ladniappe                          D
                                               Bentley, LA 71407                         Broadcasting                       E/F       3.27
                                                                                                                            G




    2.32     Steven Briggs                     6420 Hwy 8                                Lipseys LLC                        D
                                               Bentley, LA 71407                                                            E/F       3.28
                                                                                                                            G




    2.33     Steven Briggs                     6420 Hwy 8                                Mathews Archery,                   D
                                               Bentley, LA 71407                         Inc.                               E/F       3.29
                                                                                                                            G




    2.34     Steven Briggs                     6420 Hwy 8                                Morrell                            D
                                               Bentley, LA 71407                         Manufacturing, Inc.                E/F       3.30
                                                                                                                            G




    2.35     Steven Briggs                     6420 Hwy 8                                National Funding Inc.              D
                                               Bentley, LA 71407                                                            E/F       3.31
                                                                                                                            G




    2.36     Steven Briggs                     6420 Hwy 8                                PSE - Precision                    D
                                               Bentley, LA 71407                         Shooting Equip                     E/F       3.33
                                                                                                                            G




    2.37     Steven Briggs                     6420 Hwy 8                                Quarterspot, Inc.                  D
                                               Bentley, LA 71407                                                            E/F       3.34
                                                                                                                            G




Official Form 206H                                                   Schedule H: Your Codebtors                                       Page 5 of 7
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 Debtor       Man Cave Archery LLC                                                  Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.38     Steven Briggs                     6420 Hwy 8                                Ruby Receptionists                 D
                                               Bentley, LA 71407                                                            E/F       3.35
                                                                                                                            G




    2.39     Steven Briggs                     6420 Hwy 8                                Terminator Pest &                  D
                                               Bentley, LA 71407                         Pond Mtg. LLC                      E/F       3.37
                                                                                                                            G




    2.40     Steven Briggs                     6420 Hwy 8                                The Outdoor Group,                 D
                                               Bentley, LA 71407                         LLC                                E/F       3.38
                                                                                                                            G




    2.41     Steven Briggs                     6420 Hwy 8                                US Bank                            D
                                               Bentley, LA 71407                                                            E/F       3.39
                                                                                                                            G




    2.42     Steven Briggs                     6420 Hwy 8                                Vapor Trail                        D
                                               Bentley, LA 71407                                                            E/F       3.40
                                                                                                                            G




    2.43     Steven Briggs                     6420 Hwy 8                                WiseArms                           D
                                               Bentley, LA 71407                                                            E/F       3.41
                                                                                                                            G




    2.44     Steven Briggs                     6420 Hwy 8                                Ascension Parish                   D
                                               Bentley, LA 71407                         Sale & Use Tax                     E/F       2.1
                                                                                                                            G




    2.45     Steven Briggs                     6420 Hwy 8                                Ascension Parish                   D
                                               Bentley, LA 71407                         Sale & Use Tax                     E/F       2.2
                                                                                                                            G




Official Form 206H                                                   Schedule H: Your Codebtors                                       Page 6 of 7
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 Debtor       Man Cave Archery LLC                                                  Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.46     Steven Briggs                     6420 Hwy 8                                Jefferson Parish                   D
                                               Bentley, LA 71407                         Sales & Use Tax                    E/F       2.6
                                                                                                                            G




    2.47     Steven Briggs                     6420 Hwy 8                                Lafayette Parish                   D
                                               Bentley, LA 71407                         School System                      E/F       2.7
                                                                                                                            G




    2.48     Steven Briggs                     6420 Hwy 8                                LDR Sales & Use Tax                D
                                               Bentley, LA 71407                         Dept                               E/F       2.8
                                                                                                                            G




    2.49     Steven Briggs                     6420 Hwy 8                                LDR Sales & Use Tax                D
                                               Bentley, LA 71407                         Dept                               E/F       2.9
                                                                                                                            G




    2.50     Steven Briggs                     6420 Hwy 8                                LDR Sales & Use Tax                D
                                               Bentley, LA 71407                         Dept                               E/F       2.10
                                                                                                                            G




    2.51     Steven Briggs                     6420 Hwy 8                                LDR Sales & Use Tax                D
                                               Bentley, LA 71407                         Dept                               E/F       2.11
                                                                                                                            G




Official Form 206H                                                   Schedule H: Your Codebtors                                       Page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         Man Cave Archery LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $199,308.45
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $1,277,451.25
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $924,505.38
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Man Cave Archery LLC                                                                      Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               BlueVine                                                    last 3                           $39,587.45           Secured debt
               550 Hamilton Ave                                            months                                                Unsecured loan repayments
               Palo Alto, CA 94301
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.2.
               Quarterspot                                                 Daily - last                     $36,382.20           Secured debt
               333 Seventh Ave., Ste. 1402                                 90 days                                               Unsecured loan repayments
               New York, NY 10001
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.3.
               National Funding Inc.                                       Daily - last                     $38,617.80           Secured debt
               9820 Towne Center Dr.                                       90 days                                               Unsecured loan repayments
               San Diego, CA 92121
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.4.
               Kalamata Capital Group                                      Daily -                          $26,796.00           Secured debt
               7315 Wisconsin Ave #950                                     1/31/19-3/21/                                         Unsecured loan repayments
               Bethesda, MD 20814                                          19
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.5.
               Davidson's Inc.                                                                              $41,285.55           Secured debt
               6100 Wilkinson Dr.                                                                                                Unsecured loan repayments
               Prescott, AZ 86301
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.6.
               Lipseys LLC                                                                                  $43,336.10           Secured debt
               P.O. Box 83280                                                                                                    Unsecured loan repayments
               Baton Rouge, LA 70884
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 2
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 Debtor       Man Cave Archery LLC                                                                          Case number (if known)



           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case               Court or agency's name and              Status of case
               Case number                                                                    address
       7.1.    Kalamata Capital Group                            Information                  Supreme Court of the State                  Pending
               v.                                                Subpoena with                of New York                                 On appeal
               Man Cave Archery, LLC and                         Restraining Notice           County of Ontario
                                                                                                                                          Concluded
               Briggs Paint & Body and
               Steven Ray Briggs
               Index No. 123339-2019

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 3
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 Debtor        Man Cave Archery LLC                                                                      Case number (if known)



    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address
       11.1.    Gold Weems Bruser Sues &
                Rundell
                P.O. Box 6118
                Alexandria, LA 71307                                                                                           3/19/19                  $3,000.00

                Email or website address


                Who made the payment, if not debtor?
                Amanda Briggs



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

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 Debtor        Man Cave Archery LLC                                                                     Case number (if known)



 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was           Last balance
               Address                                           account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.     Colfax Banking Company                          XXXX-1542                   Checking                                                      $0.00
                 P.O. Box 247                                                                Savings
                 Colfax, LA 71417-0247
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information
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 Debtor      Man Cave Archery LLC                                                                       Case number (if known)




For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Kenneth J. Rachal CPA
                    269 East Mark Street
                    Marksville, LA 71351

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


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 Debtor      Man Cave Archery LLC                                                                       Case number (if known)



    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Amanda N. Briggs                               6420 Hwy 8                                          Member/Manager                        100%
                                                      Bentley, LA 71407



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.




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 Debtor      Man Cave Archery LLC                                                                       Case number (if known)



    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 29, 2019

 /s/ Amanda N. Briggs                                                   Amanda N. Briggs
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Member/Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Western District of Louisiana
 In re      Man Cave Archery LLC                                                                             Case No.
                                                                                  Debtor(s)                  Chapter      7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                    3,000.00
             Prior to the filing of this statement I have received                                       $                    3,000.00
             Balance Due                                                                                 $                        0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed PER HOUR FEE, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 29, 2019                                                              /s/ Chelsea M. Tanner
     Date                                                                        Chelsea M. Tanner
                                                                                 Signature of Attorney
                                                                                 Gold, Weems, Bruser, Sues & Rundell
                                                                                 POB 6118
                                                                                 Alexandria, LA 71307-6118
                                                                                 (318)445-6471 Fax: (318)445-6476
                                                                                 Name of law firm




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                       Amanda Briggs
                       6420 Hwy 8
                       Bentley, LA 71407



                       American Express
                       4 E Station Square Dr
                       Pittsburgh, PA 15219



                       Ariel Bouskila, Esq.
                       Berkovitch & Bouskila, PLLC
                       40 Exchange Place, Ste. 1306
                       New York, NY 10005



                       Ascension Parish Sale & Use Tax
                       1124 S. Burnside, Ste. 300A
                       Gonzales, LA 70707



                       BK Distributors
                       112 Pelican Dr., Ste. B
                       Pineville, LA 71360



                       BlueVine
                       550 Hamilton Ave.
                       Palo Alto, CA 94301



                       BowTech Archery
                       90554 OR-99
                       Eugene, OR 97402



                       Buck Wild Synthetics
                       2964 Zid Camp Rd.
                       Ashton, WV 25503



                       Cenla Broadcasting
                       1115 Texas Ave.
                       Alexandria, LA 71301




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                   Colfax Banking Company
                   P.O. Box 247
                   625 Eighth Street
                   Colfax, LA 71417



                   Covert Scouting Cameras
                   4338 Greenridge-Spa Rd.
                   Lewisburg, KY 42256



                   D's Freeze, LLC
                   P.O. Box 607
                   Pollock, LA 71467



                   Davidson's, Inc.
                   6100 Wilkinson Dr.
                   Prescott, AZ 86301



                   Delta McKenzie Targets
                   5040 Harold Gatty Dr
                   Salt Lake City, UT 84116



                   Easton Archery
                   5040 Harold Gatty Drive
                   Salt Lake City, UT 84116



                   Egumball
                   7525 Irvine Center Dr., #100
                   Irvine, CA 92618



                   Escalade Sports/Bear Archery
                   P.O. Box 889
                   Evansville, IN 47706



                   Excalibur Crossbow Inc.
                   2335 Shirley Drive
                   Kitchener, ON N2B 3X4




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                   FedEX
                   3965 Airways, Module G
                   Memphis, TN 38116



                   FeraDyne Outdoors
                   1230 Poplar Ave.
                   Superior, WI 54880



                   G5 Outdoors
                   P.O. Box 59
                   Memphis, MI 48041



                   Genesis Archery
                   Brennan Industries Inc.
                   2035 Riley Rd.
                   Sparta, WI 54656



                   GoldTip
                   584 E 1100 South, Ste. 5
                   American Fork, UT 84003



                   Grant Parish Sales & Use Tax
                   P.O. Box 187
                   Colfax, LA 71417



                   Hoyt Archery
                   593 North Wright Brothers Dr.
                   Salt Lake City, UT 84116



                   HughesNet
                   P.O. Box 96874
                   Chicago, IL 60693



                   Internal Revenue Service
                   POB 7346
                   Philadelphia, PA 19101-7346




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                   Interregional Credit Systems
                   P.O. Box 1059
                   Anoka, MN 55303



                   Jefferson Parish Sales & Use Tax
                   200 Derbigny Street, St. 1200
                   Gretna, LA 70053



                   John Lummus
                   151 Bush Coleman Rd
                   Boyce, LA 71409



                   Josh Daniels
                   110 Claude's Rd.
                   Colfax, LA 71417



                   Kalamata Capital Group
                   7315 Wisconsin Ave., #950
                   Bethesda, MD 20814



                   Kenseys South
                   250 Terry Blvd.
                   Louisville, KY 40229



                   Kimber Mfg. Inc.
                   4420 Saw Mill River Rd.
                   Yonkers, NY 10710



                   Ladniappe Broadcasting
                   92 West Shamrock Ave.
                   Pineville, LA 71360



                   Lafayette Parish School System
                   Sales Tax Division
                   411 East Vermillion Street
                   Lafayette, LA 70501




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                   LDR Sales & Use Tax Dept
                   P.O. Box 4969
                   Baton Rouge, LA 70821-4969



                   LDR Sales & Use Tax Dept
                   P.O. Box 201
                   Baton Rouge, LA 70821-0201



                   Lipseys LLC
                   P.O. Box 83280
                   Baton Rouge, LA 70884



                   Mathews Archery, Inc.
                   P.O. Box 367
                   Sparta, WI 54656



                   Morrell Manufacturing, Inc.
                   1721 Hwy 71 North
                   Alma, AR 72921



                   National Funding Inc.
                   9820 Towne Centre Drive
                   San Diego, CA 92121



                   Nexstar Digital, LLC
                   P.O. Box 842748
                   Dallas, TX 75284-2748



                   PSE - Precision Shooting Equip
                   2727 N. Fairview Ave.
                   Tucson, AZ 85705



                   Quarterspot, Inc.
                   333 Seventh Ave., Ste. 1402
                   New York, NY 10001




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                   Ruby Receptionists
                   805 SW Broadway #900
                   Portland, OR 97205



                   Sam's Club/Synchrony Bank
                   P.O. Box 105972
                   Atlanta, GA 30348



                   Steven Briggs
                   6420 Hwy 8
                   Bentley, LA 71407



                   Terminator Pest & Pond Mtg. LLC
                   P.O. Box 4740
                   Pineville, LA 71360



                   The Outdoor Group, LLC
                   1325 John Street
                   West Henrietta, NY 14586



                   US Bank
                   P.O. Box 6352
                   Fargo, ND 58125



                   Vapor Trail
                   1333 1054th Ave NE, Ste. 300
                   Andover, MN 55304



                   WiseArms
                   355 Robinson Bridge Rd.
                   Lecompte, LA 71346



                   WNTZ
                   P.O. Box 840148
                   Dallas, TX 75284-0148




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                                                               United States Bankruptcy Court
                                                                     Western District of Louisiana
 In re      Man Cave Archery LLC                                                                          Case No.
                                                                                   Debtor(s)              Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Member/Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       March 29, 2019                                             /s/ Amanda N. Briggs
                                                                        Amanda N. Briggs/Member/Manager
                                                                        Signer/Title




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                                                               United States Bankruptcy Court
                                                                     Western District of Louisiana
 In re      Man Cave Archery LLC                                                                            Case No.
                                                                                  Debtor(s)                 Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Man Cave Archery LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 March 29, 2019                                                       /s/ Chelsea M. Tanner
 Date                                                                 Chelsea M. Tanner
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Man Cave Archery LLC
                                                                      Gold, Weems, Bruser, Sues & Rundell
                                                                      POB 6118
                                                                      Alexandria, LA 71307-6118
                                                                      (318)445-6471 Fax:(318)445-6476




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